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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


MOSES E. MENDEZ,                                 §
                                                 §
        Plaintiff                                §
                                                 §
v.                                               §        CIVIL ACTION NO. 4:07-cv-04326
                                                 §        JURY
BED BATH & BEYOND, INC.                          §
                                                 §
        Defendant                                §

     DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL COMPLAINT

                Defendant, Bed Bath & Beyond, Inc., (“BBB”) files this, Defendant’s Original

Answer to Plaintiff’s Original Complaint as follows:


                      I. ANSWER TO COMPLAINT ALLEGATIONS

                1.     This paragraph contains no allegations which require a response.

                2.     BBB admits that it employs more than twenty employees, that it was

served with process in this action, and that venue is proper. BBB does not challenge personal

jurisdiction. BBB is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegation in this paragraph of Plaintiff’s Complaint.

                3.     BBB admits that venue is proper with this Court.

                4.     BBB admits that this Court has jurisdiction over all claims made by

Plaintiff to date.

                5.     BBB admits that it employed Plaintiff.        BBB denies the remaining

allegations in this paragraph of Plaintiff’s Complaint.

                6.     BBB denies the allegations in this paragraph of Plaintiff’s Complaint.




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                7.      BBB denies the allegations in this paragraph of Plaintiff’s Complaint.

                8.      BBB denies the allegations in this paragraph of Plaintiff’s Complaint.

                9.      BBB denies the allegations in this paragraph of Plaintiff’s Complaint.

                10.     BBB denies that Plaintiff is entitled to attorneys’ fees as a recoverable

element of damages.

                11.     BBB denies that Plaintiffs is entitled to the damages requested.


                       II. DEFENSES AND AFFIMATIVE DEFENSES

                1.      BBB asserts that Plaintiff’s claims are barred, in whole or in part, by the

exclusive remedy provision of the Texas Labor Code.

                2.      BBB affirmatively pleads that it took prompt remedial action in light of

any complaints made by Plaintiff and that said prompt remedial action was designed to end any

conduct of the type complained of by Plaintiff.

                3.      For further answer herein, if necessary, BBB affirmatively pleads that all

actions taken with regard to Plaintiff were taken in good faith and for legitimate business

reasons.

                4.      For further answer herein, if necessary, BBB affirmatively pleads that if

Plaintiff proves that any improper or prohibited factor motivated BBB, BBB would have taken

the same action in the absence of such motive or motives.

                5.      For further answer herein, if necessary, BBB affirmatively pleads that

Plaintiff failed to satisfy all administrative conditions precedent prior to instituting this action.

                6.      For further answer herein, if necessary, BBB affirmatively pleads that the

Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of limitations.




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              7.      For further answer herein, if necessary, Plaintiff failed to mitigate his

damages, if any.

              8.      For further answer herein, if necessary, Plaintiff’s claims are barred, in

whole or in part, because he comes before the Court with unclean hands.

              9.      For further answer herein, if necessary, BBB affirmatively pleads that

after-acquired evidence of conduct by Plaintiff which violates BBB’s policies and procedures

limit Plaintiff’s available damages. Specifically, said conduct was severe such that Plaintiff

would have been terminated if BBB had discovered this information. As such, if Plaintiff is a

prevailing party in this lawsuit, any backpay, attorneys’ fees, or other damage award should be

limited accordingly. Furthermore, any front pay award is unrecoverable.

              10.     For further answer herein, if necessary, BBB affirmatively invokes all

applicable federal and Texas damage caps or limitations, including but not limited to those set

forth in 42 U.S.C. §1981a; §21.2585 of the Texas Labor Code; and, §41.001, et seq., of the

Texas Civil Practice & Remedies Code.

              11.     Plaintiff’s claims for relief are barred to the extent they exceed that

available under federal and Texas law.

              12.     BBB affirmatively pleads that it is entitled to offsets for all of Plaintiff’s

interim earnings against any damages recovered by Plaintiff.

              13.     BBB asserts the defenses of sole cause, intervening cause, new and

independent cause, and superseding cause.

              14.     BBB reserves the right to assert any further affirmative defenses available

at the close of discovery as provided for by Federal Rule of Civil Procedure 8 and in compliance

with the Court’s scheduling order.




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                                           Respectfully submitted,

                                                  /s/ Paul E. Hash
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                                           ATTORNEYS FOR DEFENDANT


                              CERTIFICATE OF SERVICE

              I certify that Defendant’s Original Answer to Plaintiff’s Original Complaint was
served on the following counsel of record, via ECF notification, on the 21st day of December,
2007:

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                                                  /s/ Paul E. Hash
                                           Paul E. Hash




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